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                IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO


  ROBERTO OSORIO, ANTONIO LUIS
  OSORIO, SARYMAR BUSHER and
  BRANDY OSORIO
  Plaintiffs                                   CIVIL 15-1729CCC
  vs
  GRUPO HIMA SAN PABLO, INC.,
  d/b/a HOSPITAL HIMA SAN PABLO
  FAJARDO; DR. JAMIL
  ABOUELHOSSEN; DR. ALEXIS
  PABLOS DUCLERC; DR. JESUS
  BUONOMO; DR. IVAN ANTUNEZ;
  DR. RAFAEL PASTRANA; DR. CARLOS
  TEJEDA; ABC INSURANCE;
  EFG INSURANCE; JOHN DOE; JAMES
  ROE; MOE-FOE CONJUGAL
  PARTNERSHIPS I-X; SINDICATO DE
  ASEGURADORES PARA LA
  SUSCRIPCION CONJUNTA DEL
  SEGURO DE RESPONSABILIDAD
  PROFESIONAL MEDICO-
  HOSPITALARIA (SIMED);
  XYZ INSURANCE CO, INC.
  Defendants



                           EVIDENTIARY RULING


       The minutes of June 20, 2017 (d.e. 122) set forth orders entered by the

Court during the pretrial/settlement conference held on that same date. See
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Minute Order (d.e. 122).     Among these, the Court ordered that plaintiffs

Sarymar Busher, Roberto, Antonio and Brandy Osorio provide amended

proffers of their testimonies, as indicated at page 3.

      As to Sarymar Busher, decedent Enid Cerra’s daughter, the Court

referred to the first sentence of her proffer at page 96 of the Joint Proposed

Pretrial Order (d.e. 100) filed on March 17, 2017.       The first sentence of

Sarymar Busher’s proffer at docket entry 100 was: “. . . will testify regarding

some of the events prior to Mrs. Cerra’s surgery and events that transpired at

HIMA San Pablo Fajardo during [Ms. Cerra’s] hospitalization.” (Emphasis

ours.) The Court’s Minute Order as to Sarymar Busher at docket entry 122

filed on June 20, 2017 was very clear: since Busher referred generally to

“events,” the Court required an amended proffer in which she had to state

which specific events prior to Cerra’s surgery and which specific events that

transpired during her hospitalization was Busher referring to. That was the

extent of the amended proffer required of Busher.             Plaintiff Busher

disregarded the clear directive in two ways: (1) she never specifies in her

amended proffer to which specific events prior to Cerra’s surgery and that

transpired during Cerra’s hospitalization would she be testifying to, and

(2) she significantly expanded her original proffer at page 96 of docket

entry 100 without authorization.
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      Given plaintiff Sarymar Busher’s lack of compliance with the Court’s

Order to file a limited amended proffer, the amendments submitted to Sarymar

Busher’s proffered trial testimony at page 2 of the Motion in Compliance

(d.e. 120) is STRICKEN. Her original proffered testimony, at pages 96-97 of

the Joint Proposed Pretrial Order (d.e. 100), without any reference to

testimony of events prior to Cerra’s surery and events that transpired at

HIMA San Pablo during her hospitalization, is the only proffered trial testimony

by Busher that will be allowed.

      As to the amended proffers that the Court ordered provided by plaintiffs

Roberto, Antonio and Brandy Osorio, it was required in the Minute Order of

June 20, 2017 that each of them provide information as to:

    Who provided the information of the events to each and in what
     manner.
    To which specific events prior to surgery and during
     hospitalizations does each witness refer to.
    Under what hearsay exclusion will would such testimony of
     Roberto, Antonio and Brandy Osorio be admissible.

      The reason for requiring the amended proffers was that the Osorio

plaintiffs described their original proffers at docket entry 100 as testimonies

“regarding their partial knowledge, perceived from a distance, of some of the

events prior to decedent’s surgery, and events during her hospitalization.”

      Having considered their amended proffers, the Court finds that plaintiffs

Roberto, Antonio and Brandy Osorio have also disregarded the Minute Order
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of docket entry 122 at page 3. That Order required three items of information

that were specifically spelled out. Each of the Osorio plaintiffs has, instead,

extensively modified their original proffers yet failed to provide the information

requested.    Such information was to address that portion of the original

proffer which reads: “regarding his/her partial knowledge, perceived from a

distance, of some of the events prior to Mrs. Cerra's surgery and of the events

that transpired at HIMA San Pablo Fajardo during Mrs. Cerra's

hospitalizations.”

      Defendant Dr. Iván Antúnez’ Motion in Limine filed on August 1, 2017

(d.e. 123) raises these plaintiffs’ lack of compliance with the Order requiring

them to address the three specific items required by the Court to be included

in their amended proffer. Movant further contends that the three Osorios

testified during their depositions that they were not present during Cerra’s

hospitalizations or medical visits and that the source of their information came

from phone conversations with family members. He seeks that the Court limit

their trial testimony to relevant incidents or events that transpired in their

presence.

      Having considered the Motion in Limine to Exclude Testimony Pursuant

to Fed. R. Evid. 801 filed by defendant Antúnez (d.e. 123) and the Opposition

filed on August 22, 2017 (d.e. 128), said Motion is GRANTED. Accordingly,

the amended proffers submitted by Antonio, Roberto and Brandy Osorio on
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July 11, 2017 (d.e. 120) at pages 2-3 are STRICKEN. Their original proffers

are allowed only insofar as their trial testimonies are based on personal

knowledge, not on “partial knowledge, perceived from a distance.”

     SO ORDERED.

     At San Juan, Puerto Rico, on February 8, 2018.



                                          S/CARMEN CONSUELO CEREZO
                                          United States District Judge
